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                                    UNITED STATES DISTRICT COURT
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                                   SOUTHERN DISTRICT OF NEW YORK

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   ACLI INVESTMENTS LTD., ACL2
   INVESTMENTS LTD., and LDO (CAYMAN)
   XVIII LTD.,
                                                                 No. 19-cv-09014-LLS
                                   Plaintiffs,

                              v.
   BOLIV ARIAN REPUBLIC OF VENEZUELA,

                                   Defendant.

  ------------------X
                              FINAL JUDGMENT AND PERMANENT INJUNCTION

              WHEREAS, this Court having subject matter jurisdiction over this case and personal

   jurisdiction over Defendant the Bolivarian Republic of Venezuela (the "Republic"), the Republic

   having appeared before the Court and not contesting the Court's jurisdiction;

              WHEREAS, the parties having conducted informal discovery in which plaintiffs

   provided evidence to the Republic of plaintiffs' standing to sue, identity, and continuing

    ownership interest in the debt securities placed in issue by the Amended Complaint; and

              WHEREAS, the parties having reached a stipulation for the entry of judgment for the

    reasons and on the terms set forth therein;

               IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

               Final Judgment is entered in favor of Plaintiffs ACLl Investments Ltd., ACL2

    Investments Ltd., and LDO (Cayman) XVIII Ltd. (the "Plaintiffs") against the Republic for

    breach of contract; and




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        IT IS FURTHER ORDERED, ADJUDGED AND DECREED THAT:

        The Republic is liable to the Plaintiffs for damages in the following amounts:


   I.      To Plaintiff ACLl Investments Ltd. on account of 2004 Issuance of the 2034s

(ISIN US922646BL 74):

           a. For non-payment of principal due on December 6, 2018 as a result of the

               acceleration of the indebtedness: $57,215,000.

            b. Interest on $57,215,000 of principal at the rate of 9.375% per annum computed

               starting July 13, 2020 through December 1, 2020, such interest being equal to

               $2,056,164.06.

            c. For non-payment of six (6) due and unpaid biannual interest payments due on

                each of January 13, 2018, July 13, 2018, January 13, 2019, July 13, 2019, January

                13, 2020, and July 13, 2020:

                    i. For non-payment of an interest payment due on January 13, 2018,

                          $2,681,953.13, plus interest thereon at the rate of 9% per annum simple

                          interest starting from January 14, 2018, through December 1, 2020, such

                          interest being equal to $696,352.60;

                    11.   For non-payment of an interest payment due on July 13, 2018,

                          $2,681,953.13, plus interest thereon at the rate of 9% per annum simple

                          interest starting from July 14, 2018, through December 1, 2020, such

                          interest being equal to $576,656.66;

                   iii. For non-payment of an interest payment due on January 13, 2019,

                          $2,681,953.13, plus interest thereon at the rate of 9% per annum simple




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                       interest starting from January 14, 2019, through December 1, 2020, such

                       interest being equal to $454,976.82;

                iv. For non-payment of an interest payment due on July 13, 2019,

                       $2,681,953.13, plus interest thereon at the rate of9% per annum simple

                       interest starting from July 14, 2019, through December 1, 2020, such

                       interest being equal to $335,280.88;

                 v. For non-payment of an interest payment due on January 13, 2020,

                       $2,681,953.13, plus interest thereon at the rate of9% per annum simple

                       interest starting from January 14, 2020, through December I, 2020, such

                       interest being equal to $213,601.03; and

                v1.    For non-payment of an interest payment due on July 13, 2020,

                       $2,681,953.13, plus interest thereon at the rate of 9% per annum simple

                       interest starting from July 14, 2020, through December 1, 2020, such

                       interest being equal to $93 ,243 .79.

          d. For coupon and prejudgment interest following December 1, 2020, $18,867.56

             per day until the date on which this judgment is entered on the docket of the

              Court.

   2.     To Plaintiff ACL2 Investments Ltd. on account of 2004 Issuance of the 2034s

(ISIN US922646BL 74):

          a. For non-payment of principal due on December 6, 2018 as a result of the

              acceleration of the indebtedness: $20,288,000.




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 b. Interest on $20,288,000 of principal at the rate of 9.375% per annum computed

     starting July 13, 2020 through December 1, 2020, such interest being equal to

     $729,100.00.

  c. For non-payment of six (6) due and unpaid biannual interest payments due on

     each of January 13, 2018, July 13, 2018, January 13, 2019, July 13, 2019, January

     13, 2020, and July 13, 2020:

         1.   For non-payment of an interest payment due on January 13, 2018,

              $951,000, plus interest thereon at the rate of 9% per annum simple interest

              starting from January 14, 2018, through December 1, 2020, such interest

              being equal to $246,921 .29;

         ii. For non-payment ofan interest payment due on July 13, 2018, $951,000,

              plus interest thereon at the rate of 9% per annum simple interest starting

              from July 14, 2018, through December 1, 2020, such interest being equal

              to $204,478.03;

        m. For non-payment of an interest payment due on January 13, 2019,

              $951,000, plus interest thereon at the rate of9% per annum simple interest

              starting from January 14, 2019, through December 1, 2020, such interest

              being equal to $161,331.29;

         1v. For non-payment of an interest payment due on July 13, 2019, $951,000,

              plus interest thereon at the rate of 9% per annum simple interest starting

              from July 14, 2019, through December 1, 2020, such interest being equal

              to $118,888.03;




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                v. For non-payment of an interest payment due on January 13, 2020,

                        $951,000, plus interest thereon at the rate of 9% per annum simple interest

                        starting from January 14, 2020, through December 1, 2020, such interest

                        being equal to $75,741.29; and

                v1.     For non-payment of an interest payment due on July 13, 2020, $951,000,

                        plus interest thereon at the rate of 9% per annum simple interest starting

                        from July 14, 2020, through December I, 2020, such interest being equal

                        to $33,063.53.

         d. For coupon and prejudgment interest following December 1, 2020, $6,690.29 per

             day until the date on which this judgment is entered on the docket of the Court;

             and

   3.    To Plaintiff LDO (Cayman) XVIII Ltd. on account of 2004 Issuance of the 2034s

(ISIN US922646BL 74):

          a. For non-payment of principal due on December 6, 2018 as a result of the

             acceleration of the indebtedness: $9,197,000.

          b. Interest on $9,197,000 of principal at the rate of 9.375% per annum computed

             starting July 13, 2020 through December 1, 2020, such interest being equal to

             $330,517.19.

          c. For non-payment of six (6) due and unpaid biannual interest payments due on

             each of January 13, 2018, July 13, 2018, January 13, 2019, July 13, 2019, January

              13, 2020, and July 13, 2020:

                   1.    For non-payment of an interest payment due on January 13, 2018,

                         $4 31, l 09 .38, plus interest thereon at the rate of 9% per annum simple




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          interest starting from January 14, 2018, through December 1, 2020, such

          interest being equal to $111,934.89;

       ii. For non-payment of an interest payment due on July 13, 2018,

          $431,109.38, plus interest thereon at the rate of9% per annum simple

          interest starting from July 14, 2018, through December 1, 2020, such

           interest being equal to $92,694.42;

      iii. For non-payment of an interest payment due on January 13, 2019,

           $431,109.38, plus interest thereon at the rate of 9% per annum simple

           interest starting from January 14, 2019, through December 1, 2020, such

           interest being equal to $73,135.05;

       iv. For non-payment of an interest payment due on July 13, 2019,

           $431,109.38, plus interest thereon at the rate of 9% per annum simple

           interest starting from July 14, 2019, through December 1, 2020, such

           interest being equal to $53,894.58;

       v. For non-payment of an interest payment due on January 13, 2020,

           $431,109.38, plus interest thereon at the rate of 9% per annum simple

           interest starting from January 14, 2020, through December 1, 2020, such

           interest being equal to $34,335.20; and

       vi. For non-payment of an interest payment due on July 13, 2020,

           $431,109.38, plus interest thereon at the rate of 9% per annum simple

           interest starting from July 14, 2020, through December 1, 2020, such

           interest being equal to $14,988.43; and




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           d. For coupon and prejudgment interest following December 1, 2020, $3,032.86 per

                day until the date on which this judgment is entered on the docket of the Court;

                and

   4.     To Plaintiffs jointly on account of out-of-pocket expenses due under Section 7 of

the Terms and Conditions of the 2004 Issuance of the 2034s (ISIN US922646BL74) as of the

date of the judgment: $220,000; and

   IT IS FURTHER ORDERED, ADJUDGED AND DECREED THAT:

        Each Plaintiff and any of its successors or assigns; and anyone acting on its behalf,

including its officers, agents, servants, employees, trustees, beneficial owners, and attorneys; and

all persons and organizations acting in concert with any of them are hereby PERMANENTLY

ENJOINED from selling or otherwise transferring in any manner the securities or security

entitlements on which each Plaintiff has brought suit in this case identified as ISIN

US922646BL 74, unless (i) such sale or transfer also includes the Plaintiffs corresponding

interest in this judgment, and (ii) the Plaintiff provides to the Republic through counsel of record

in this action three (3) calendar days' prior written notice of the settlement of any such sale or

transfer; and

    IT IS FURTHER ORDERED, ADJUDGED AND DECREED THAT:

        The Plaintiffs and any of their successors or assigns; and anyone acting on their behalf,

including their officers, agents, servants, employees, trustees, beneficial owners, and attorneys;

and all persons and organizations acting in concert with any of them, shall be bound by the terms

of the parties' Stipulation for Entry of Final Judgment and Permanent Injunction dated December

4,2020;and




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                       IT IS FURTHER ORDERED, ADJUDGED AND DECREED THAT:

                       This Court shall retain non-exclusive jurisdiction over matters related to the enforcement

                of this judgment.

                Dated: New York, New York
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                                7     , 2020
                                                                      SO ORDERED:


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                                                                      LOUIS L. ST ANTON
                                                                      United States District Judge




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